              Case 2:12-cr-00432-JAM Document 22 Filed 04/18/13 Page 1 of 2



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4    Attorney for Defendant, Gilberto Lorenzo Luvio
5

6
                          IN THE UNITED STATES DISTRICT COURT
7
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
                                                      Case No. 2:12-cr-0432 JAM
10   UNITED STATES OF AMERICA,
                                                      STIPULATION AND ORDER
11                                  Plaintiff,        CONTINUING STATUS CONFERENCE
                                                      AND EXCLUDING TIME
12       vs.
     ARTURO GONZALEZ-MORAN and                        Date: June 11, 2013
13   GILBERTO LORENZO LUVIO                           Time: 9:45 am
                                                      Judge: Hon. John A. Mendez
14                                 Defendants. /
15

16         IT IS HEREBY STIPULATED by and between the parties hereto through their

17   respective counsel, Michael McCoy, Assistant United States Attorney, attorney for

18   Plaintiff; Benjamin Galloway, attorney for defendant Arturo Gonzalez-Moran, and J.

19   Patrick McCarthy, attorney for defendant Gilberto Lorenzo Luvio, that the current Status

20   Conference set for April 23, 2013 be continued to June 11, 2013 at 9:45 am.

21         The continuance is being requested because the parties need more time to

22   evaluate the evidence and to seek resolution of the case. The attorneys continue to

23   accumulate additional information which must be considered in the evaluation process.

24         It is further stipulated and agreed between the parties that the period beginning

25   April 23, 2013 to June 11, 2013, should be excluded in computing the time within which




                                         Stipulation / Order - 1
                Case 2:12-cr-00432-JAM Document 22 Filed 04/18/13 Page 2 of 2



1    the trial of the above criminal prosecution must commence for purposes of the Speedy

2    Trial Act for preparation of counsel. All parties stipulate and agree that this is an

3    appropriate exclusion of time within the meaning of Title 18, United States Code,

4    Section 3161(h)(8)(iv) (Local Code T4). The ends of justice served by the granting of

5    this continuance outweigh the interests of the public and the defendants in a speedy

6    trial.

7             Mr. McCoy and Mr. Galloway have authorized Mr. McCarthy to sign this

8    stipulation on their behalf.

9

10   Dated: April 17, 2013                       Respectfully submitted,

11
                                                 /S/ J. Patrick McCarthy
12                                               J. PATRICK McCARTHY, Attorney for
                                                 Defendant Gilberto Lorenzo Luvio
13

14
                                                 /S/ J. Patrick McCarthy for
15                                               MICHAEL McCOY,
                                                 Assistant U.S. Attorney
16                                               Attorney for Plaintiff

17
                                                 /S/ J. Patrick McCarthy for
18                                               BENJAMIN GALLOWAY,
                                                 Assistant Federal Defender, Attorney for
19                                               Defendant, Arturo Gonzalez-Moran

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21

22   IT IS SO ORDERED.

23   Dated: 4/18/2013
                                                 /s/ John A. Mendez_____________________
24                                               JOHN A. MENDEZ,
                                                 UNITED STATES DISTRICT COURT JUDGE
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                                          Stipulation / Order - 2
